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                                                       O6 2013



  Dr. Brent Ellis
  President
  Spring Arbor University
  106 E. Main Street
  Spring Arbor, Michigan 49283

                                                      Re: OCR Docket #15-14-2006

  Dear Dr. Ellis:

   On November 4, 2013, the U.S. Department of Education (the Department), Office for
   Civil Rights (OCR), received a complaint filed against Spring Arbor University (the
   University) alleging sex-based discrimination against a student (the Student). The
   complaint alleges that the University is discriminating against the Student based on sex
   by denying him equal access to the University's education program and activities because
 !(b)(6); (b)(?(C)                  I
                              Specifically, the Student alle es that the Universit is treatin
   him differently from other students on the basis of sex (b)(6); (b)(7(C)
  (b)(6); (b)(7(C)


  OCR is responsible for enforcing Title IX, 20 U.S.C. § 168 l et seq., and its implementing
  regulation, 34 C.F.R. Part 106. Title IX prohibits discrimination on the basis of sex in
  education programs and activities operated by recipients of Federal financial assistance
  from the Department. As a recipient of such financial assistance, the University is
  subject to Title IX.

  Because OCR has jurisdiction over this allegation and it was filed timely, OCR is
  opening this complaint for investigation. The complaint allegation raises the issue of
  whether the University, on the basis of sex, excluded the Student from participation in,
  denied him the benefits ot: or otherwise subjected the Student to discrimination under any
  education program or activity in violation of the Title IX implementing regulation at 34
  C.F.R. § 106.31.



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  Please note that opening this matter for investigation in no way implies that OCR has
  made a determination with regard to the merit of the allegation. During the investigation,
  OCR is a neutral fact-finder, collecting and analyzing relevant evidence from the
  complainant, the recipient, and other sources, as appropriate. OCR will ensure that its
  investigation is legally sufficient and is dispositive of the allegation in accordance with
  the provisions of Article III of OCR's Case Processing Manual.
  Please read the enclosed document entitled OCR Complaint Processing Procedures,
  which includes information about:

     •   OCR's complaint evaluation and resolution procedures, including the availability
         of Early Complaint Resolution (ECR), a voluntary process similar to mediation
         whereby an OCR staff person facilitates communication between the parties in an
         attempt to resolve complaint allegations;

     •   regulatory prohibitions against retaliation, intimidation and harassment of persons
         who file complaints with OCR or participate in an OCR investigation; and

     •   application of the Freedom of Information Act and the Privacy Act to OCR
         investigations.

  Additional information about the laws OCR enforces is available on our website at
  http://www.ed.gov/ocr.

  OCR intends to conduct a prompt investigation of this complaint. The regulation
  implementing Title VI, at 34 C.F.R. § 100.6(b) and (c), requires that a recipient of
  Federal financial assistance make available to OCR information that may be pertinent to
  reach a compliance determination. This requirement is incorporated by reference in the
  Title IX regulation at 34 C.F.R. § 106.71. In addition, pursuant to 34 C.F.R. § 100.6(c)
  and 34 C.F.R. § 99.31 (a)(3)(iii) of the regulation implementing the Family Educational
  Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g, OCR may review personally
  identifiable records without regard to considerations of privacy or confidentiality.

  We are therefore requesting that you forward the following information to us within 15
  calendar days of the date stamped at the top of this letter. Where possible, please provide
  the requested information in electronic format (and bates-labeled if you have that
  capability); otherwise, please provide the information via hard copy:

          1.     a copy of the University's (b)( 6);   policies, including any policies that
                 relate to (b)(6); (b)(?(C)

         2.      a copy of any policies and procedures the University has adopted to
                 address complaints alleging violations of Title IX;

         3.      the name(s) and title(s) of the University employee(s) responsible for
                 investigating complaints of sex discrimination and for coordinating the
                 University's compliance with Title IX, and the date this person(s) began




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                 serving in this position. Please include a copy of all notifications to
                 students and employees of the name or title, office address and telephone
                 number of the employee(s), and information about where these notices can
                 be found;

         4.      a copy of the University's Student Handbook for thd(b)(6); (b)(? !academic
                 year;
         5.      a copy of any documentation of communications between any University
                  employee and the Student l(b)(6);(b)(?(C) lor between University
                 em lo ees related to the Student's b 6 · (b)(?(C)
                 (b)(6);(b)(?(C)                            including but not limited to all
                 notes a              a, e-mails, student records, meeting minutes or notes,
                 and telephone logs;

         6.      a copy of the names and titles of all University staff and administrators
                 involved in an decision to place restrictions on the Student'~~~~~); (b)
                 (b)(6); (b)(?(C)

         7.      a copy of the names and titles of all University staff and administrators
                 involved in any decision to limit the Student's!(b)(6); (b)(?(C)
               I~~~~); (b)I                                        -------

         8.                                                        I
                 the names of all students during thJ~~),(5 ); (b)(? andl~~{(6); (b)(7 lacademic
                 years who have bee b 6 · b 7 C



         9.      any other information the University believes may be relevant to OCR's
                 investigation of this complaint.

  Thank you for your cooperation in this matter. In addition to the information requested
  above, we may need to request additional information and interview University staff. If
  we determine that an on-site visit is necessary, we will contact you to schedule a mutually
  convenient time for the visit.

  Also, please note that this complaint may be appropriate for Early Complaint Resolution
  (ECR), a voluntary process similar to mediation during which an OCR staff person
  facilitates communication between the parties in an attempt to resolve complaint
  allegations. Because this process can save time and resources, allows both parties to
  decide the terms of their agreement, and can improve the parties' communication, this is
  often a positive method for quickly resolving issues raised in complaints. Please see the
  enclosed ECR brochure for additional information about this process. If OCR believes
  that this complaint is appropriate for ECR, an OCR staff person will contact you to
  discuss this option.




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  OCR works to resolve allegations of discrimination promptly and appropriately. Upon
  receipt of this letter, please notify OCR of the name, address, and telephone number of
  the person who will serve as the University's contact person during OCR's investigation
  of this complaint. If you have any questions, you may contact Mr. Ted Wammes, the
  OCR staff member assigned to investigate this complaint, by telephone at (216) 522- 7022
  or by e-mail at Ted.Wammes@ed.gov.




                                      Acting Team Leader

  Enclosures




EXHIBIT V                                                                                    4
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                                UNITED STATES DEPARTMENT OF EDUCATION
                                   OFFICE FOR CIVIL RIGHTS, REGION XV

                                             1350 EUCLID AVENUE, SUITE 325
                                                  CLEVELAND. OH 44115                                         R£GION XV
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                                              August 6, 2014




Diane Y. Bower, Esq.
Marcoux Allen P.C.
145 South Jackson Street
P.O. Box 787
Jackson, Michigan 49204

                                              Re: OCR Docket#lS-14-2006

Dear Ms. Bower:

This letter is to notify you of the disposition of the above-referenced complaint filed with the
U.S. Department of Education's Office for Civil Rights (OCR) on November 4, 2013, against
Spring Arbor University (the University). The complaint alleged that the University
discriminated against a student (the Student) based on sex b den in him e ual access to the
University's education program and activities because (b)(6); (b)(?(C)              Specifically, the
Student alle ed that the Universit treated him differently from other students on the basis of sex
(b)(6); (b)(?(C)


OCR is responsible for enforcing Title IX of the Education Amendments of 1972 (Title IX), 20
U.S.C, §1681 et seq., and its implementing regulation, 34 C.F.R. Part 106, which prohibit
discrimination on the basis of sex in education programs and activities operated by recipients of
Federal financial assistance from the U.S. Department of Education. As a recipient of such
financial assistance, the University is subject to Title IX. Therefore, initially, OCR had
jurisdiction to investigate this complaint,

OCR initiated an investigation into the issue of whether the University, on the basis of sex,
excluded a student from participation in, denied him the benefits of, or otherwise subjected him
to discrimination under any education programs or activity in violation of the Title IX
implementing regulation, at 34 C.F .R. § 106.31. However, before OCR could complete its
investigation, the University requested and was granted a religious exemption to 34 C.F.R. §
 I 06.31 and other portions of the Title IX implementing regulation. As the University is now
exempt from complying with the portion of the Title IX regulation relevant to this complaint,
OCR is closing this complaint effective the date of this letter. The basis for OCR's decision is
discussed in more detail below.

The University is a private, non-profit, evangelical Christian university located in Spring Arbor,
Michigan. The University is affiliated with the Free Methodist Church (the church), and

     The Department of Education's mission is to promote student achievement and preparation/or globed competitiveness
                               b.vfostering educational excellence and ensuring equal access.
                                                        www.ed.gov

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 Page 2 - Diane Y. Bower, Esq.


 according to the University, it adheres to the church's religious tenets, which include prohibiting
 premarital sex and homosexual behavior, and a belief that one cannot change his or her birth
 gender. Pursuant to the University's articles of incorporation, the University's president, as well
 as the majority of the University's trustees, must be members of the church.

  During the winted~~),(5); (b)(? !semester, the Student notified the Unive~hat    hJ(b)( 6 ); (b)(?(C)
!(b)(6); (b)(7(C)           I The Student informed OCR that, in Octobe~         the University
  responded by subjecting him to requirements that it did not imnose on other students.
  Soecificallv he said the University l(b)(6); (b)(7(C)                                              I
 (b)(6); (b)(7(C)




 OCR spoke with University personnel regarding the Student's allegations. The University did
 not dispute that it im osed the above-referenced restrictions, and that it treated the Student
 differently based on Nonresponsive           However, it asserted that because it is a religious
 institution, and because compliance with the Title IX regulation would conflict with its religious
 tenets, it should be exempted from certain provisions of Title IX on religious grounds.

 Pursuant to Title IX and its implementing regulation, at 34 C.F.R. § 106.31(a)-(b), a university
 may not treat individuals differently on the basis of sex in its programs or activities without a
 legitimate, nondiscriminatory, nonpretextual reason for doing so. All students, including
 transgender students and students who do not conform to gender stereotypes, are protected from
 sex.based discrimination under Title IX. However, the Title IX implementing regulation at 34
 C.F .R. § l 06.12, provides that Title IX does not apply to educational institutions controlled by
 religious organizations to the extent application of Title IX would be inconsistent with the
 institutions' religious tenets. Such educational institutions are allowed to request an exemption
 from Title IX by identifying the provisions of Title IX that conflict with a specific tenet of the
 religious organization. The request must identify the religious organization that controls the
 educational institution and specify the religious tenets of that controlling organization and the
 provisions of the law and/or regulation that conflict.

 By letter dated June 3, 2014, the University requested that OCR's Assistant Secretary grant it
 religious exemption pursuant to 34 C.F.R. § I 06.12, on the basis that compliance with certain
 provisions of Title IX would conflict with the religious tenets of the University and its
 controlling organization, the Free Methodist Church. Specifically, the University requested
 exemption from the following Title IX provisions:

      •   34 C.F.R. § 106.3l(b)(4) (governing different rules of behavior or sanctions);
      •   34 C.F.R. § 106.32 (governing housing);
      •   34 C.F.f{.. § 106.33 (governing comparable facilities such as restrooms and locker
          rooms);




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   •   34 C.F.R. § 106AO(governing different rules based on marital or parental status)
   •   34 C.F.R. § 106.41 (governing athletics);
   •   34 C.F .R. § 106.51 (governing employment); and
   •   34 C.F.R. § 106.57 (governing the consideration of martial or parental status in
       employment decisions),

In a letter dated June 27, 2014, OCR's Assistant Secretary granted the University's request and
stated, in relevant part, that the University is exempt from the above provisions "to the extent
that they prohibit discrimination based on gender identity or sexual orientation or require a
recipient to treat students consistent with their gender identity, and compliance would conflict
with the controlling organization's religious tenets."

As the Student's allegations of different treatment based od(b)( 5); (b)(l(C)     !fan under the
Title IX implementing regulation for which OCR granted the University a religious exemption,
OCR no longer has jurisdiction over the allegation with respect to the University, and is
administratively closing this complaint effective the date of this letter.

If you have any questions, please contact Mr. Ted Wammes, the OCR staff person assigned to
this complaint, by telephone at (216) 522-7022, or by e-mail at Ted.Wammes@ed.gov.




                                     Lis M. Lane
                                     Supervisory Attorney/Team Leader




EXHIBIT V                                                                                          7
